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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                                     Portland


  JENNIFER JOY FREYD,                                                               CV.6:17-ev-448-MC

                                          Plaintiff,
                                                                 DECLARATION OF HAL
             v.                                                  SADOFSKY IN SUPPORT OF
                                                                 DEFENDANTS UNIVERSITY OF
  UNIVERSITY OF OREGON, MICHAEL H.                               OREGON AND SADOFSKY'S
  SCHILL and HAL SADOFSKY,                                       MOTION FOR SUMMARY
                                                                 JUDGMENT
                                       Defendants.


             I, Hal Sadofsky, declare as follows:

             1)      I am a defendant in this lawsuit and am the Divisional Dean for the Natural Sciences

  which is part of the College of Arts and Sciences at the University of Oregon. The college itself

  is divided into three divisions (Humanities, Social Sciences, and Natural Sciences). The three

  divisional deans report to the dean of the college, Andrew Marcus. My division, Natural Sciences,

  includes Psychology and seven other departments. I have been Divisional Dean since the 2014-

  15 academic year (initially my title was Associate Dean). My title was changed to Divisional Dean

  in July of 2016 without any other changes associated. For simplicity going forward I will always

  refer to my title as Divisional Dean. Prior to that I was the head ofthe Department of Mathematics.

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  Attached to this declaration as Exhibit A is a copy of the Divisional Dean position description for

  the College of Arts and Sciences which generally describes my duties. Although this draft was

  written in February 2017, these are generally the responsibilities I had since my initial appointment

  in July 2014.

             2)     Generally speaking my role in determining faculty compensation changes is to

  assemble and review information from the departments that are part of the Natural Sciences, then

  make recommendations to the Dean, which are then passed on to the Provost if the Dean agrees

  with my recommendations. As relates to the Psychology Department I do not have a role in making

  the initial compensation decisions or recommendations; those are made within the department

  itself.

             3)     Salary and Compensation: Faculty have base academic year salaries (covering the

  period September 16 to June 15), but for various reasons these salaries will not always perfectly

  match what they are paid. Here are some relevant examples.

      • Don Tucker continues to have an academic appointment in the Psychology Department but
             has been on an extended leave without pay since March 2001. He continues to have an

             assigned base pay rate, but since he has been at 0% FTE that entire time, he has not been

             paid by U. Oregon during that period. The assigned base pay rate is the rate to which the

             faculty member on leave would return upon a return to 100% FTE.

      • Paul Slovic also continues to have an academic appointment in the Psychology Department
             but has also been on an extended leave without pay. He continues to have an assigned base

             pay rate, but since he has been at 0% FTE while on this extended leave, he has not been

             paid by U. Oregon during that period.

      • Faculty who teach during the summer receive additional pay for that teaching.

      • Some faculty have research time paid by grant funding during the summer and receive pay
             for that from the grant, not from general university funds.



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      • Jennifer Freyd in 2018-19 is at .5FTE at her request (see below). So while her base

             academic year salary is for full time employment at 1.0FTE, she will receive half of that

             during the 2018-19 academic year.

      • Faculty members who are on sabbatical for the entire year (faculty may apply to do this for

             research purposes after six years of full time service) are paid 60% of their base academic

             year salary for that period.

             4)      Retentions: I am familiar with retention adjustments offered to personnel within the

  Psychology department during the time I have been Divisional Dean for the Natural Sciences. I

  also have more limited records going back to 2011 left by my predecessor. From 2011-2018,

  based on my memory and my limited historical records, Psychology retention adjustments have

  been offered to the following faculty (when there have been multiple retention offers, the recipient

  is listed in each applicable year):

             2011 — Scott Frey

             2012 — Cliff Kentros; Jane Mendle

             2013 — Gordon Hall; Jennifer Pfeifer; Elliott Berkman

             2014 — Ed Awh;Ed Vogel

             2015 — Gordan Hall; Heidimarie Laurent; Phil Fisher

             2017 — Nick Allen; Dare Baldwin; Nash Unsworth; Jennifer Pfeifer

             2018 — Crystal Dehle; Phil Fisher

             5)      Not all faculty accept the retention adjustments. For example, in 2014 Ed Awh and

  Ed Vogel found the offers they had in hand from University of Chicago more attractive than the

  University of Oregon's retention offers. Additionally, some retention offers do not result in salary

  adjustments at all. That was the case in 2015 with Gordon Hall and in 2018 with Phil Fisher.

  When salary is adjusted to retain a faculty member, it represents a positive effect for the individual

  being retained — that individual would typically but not always see an increase in compensation

  offered to retain a valuable scholar at risk of being lost to another institution. When there is a

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  retention adjustment for a faculty member, the University typically does not increase the

  compensation for other faculty members, men or women. Because of that, when one faculty

  member receives a salary raise in connection with a retention adjustment, that raise may increase

  the "spread" between the recipient in comparison to other faculty members(men and women)who

  are or have been earning a lower salary. Sometimes the raise can increase the salary ofthe recipient

  above the salary of a faculty member who previously earned more than the faculty member being

  retained. An example of this is Prof. Allen's retention salary increase in 2017-18. Before that

  increase, Prof. Allen was paid less than Jennifer Freyd; after the increase he was paid more. But

  before that increase Prof. Allen was also paid less than Ulrich Mayr whereas after the increase he

  was paid more than Ulrich Mayr.

             6)          Prof. Freyd's request for an equity adjustment: In January 2017, I met with

  Jennifer Freyd, David Cecil from the faculty union United Academics, and Dean Andrew Marcus

  to discuss Jennifer Freyd's specific request for a retroactive equity adjustment to her salary. She

  had prepared certain charts or scatterplots which showed various faculty within the Psychology

  department plotted by different measures of seniority and compensation. I was already aware that

  she had concerns about her salary because the department head of Psychology had raised those

  concerns earlier, in Fall 2016, and I had attended a faculty meeting where they were referenced.

  At the faculty meeting, I responded to express concern even though I had not had done a complete

  analysis of the salary structure in the department. I pointed out, both to the Psychology faculty

  and to the department head:

             • Article 26, Section 11 of the CBA (Exhibit B)is a collectively bargained mechanism
                  designed to look for and address concerns about gender equity in salary overall, and

                  also

             • Encouraged the faculty to press both the faculty union and the administration to
                  allocating some of the salary increase funds in the next CBA to equity raises.



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  After that faculty meeting, I had an opportunity to review the materials more carefully and I

  disagreed that they demonstrated gender discrimination. I reviewed the issues raised about Prof.

  Freyd's compensation carefully and ultimately concluded her compensation was not unfairly,

  discriminatorily or improperly set. I believed that to be the case regardless of whether one

  considers gender, internal equity, or external equity. Prof. Freyd did not present any new or

  different information at our January 2017 meeting that changed my opinion and I continue to hold

  that view today. My considerations include the following:

             a. When I received materials from Prof Freyd, I conducted my own analysis of salaries

                in the Psychology Department, in the College of Arts and Science and compared to

                other Psychology departments in the group of public university members of the

                American Association of Universities(this is a group to which the University of Oregon

                belongs, and is a set of comparators we use).

             b. External equity within the Natural Sciences: Faculty salaries at the University of

                Oregon are generally toward the lower end of salaries at the group of AAU public

                universities. I believe this is most likely explained by the fact that the University of

                Oregon's state funding is also at the low end compared to other AAU public

                universities. As an example, the average salary for a full professor (including men and

                women)in the Natural Sciences at the University of Oregon in 2016-17 was $129,500.

                The average salary for a full professor in the Natural Sciences at AAU public

                universities (also including men and women) was $147,200. Prof. Freyd's salary that

                January was $155,237. That contrasted significantly with my observation that faculty

                salaries at the University of Oregon are generally on the lower side in comparison to

                the AAU public universities and the vast majority of full professors are paid less than

                the AAU average for full professors. Prof. Freyd is an exception to this, with a salary

                5% higher than the AAU public average for full professors in the Natural Sciences. In

                other words, in my view the fact that the average full professors earned less than the

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                AAU public average but Prof. Freyd earned more illustrated a more favorable result for

                her in comparison to her colleagues.

             c. Internal equity within the Natural Sciences: Prof. Freyd's salary is 20% higher than the

                average Natural Science full professor salary at the University of Oregon. Of the

                approximately 90 full professors in the division, Prof. Freyd was the 16th highest paid,

                meaning her salary was higher than more than 80% ofthe full professors in the Natural

                Sciences. Of the 15 full professors in the Natural Science division with a salary higher

                than Prof. Freyd's, three are in Computer Science (where salaries average about 20%

                higher than the rest ofthe Natural Sciences), two are members ofthe National Academy

                of Sciences (in which membership is by election and represents a great honor reserved

                for the most distinguished scientists), four are department heads or former department

                heads, two others have signed up for retirement (which comes with a corresponding

                6% pay boost for the last three years before retirement), one is a very senior faculty

                member with a distinguished scholarly record, and the remaining three are faculty with

                extensive external funding who have been recruited by other universities and for whom

                the University of Oregon has made the strategic decision to raise their salary in order

                to retain them (see my discussion of these individuals, below).

             d. Internal equity within Psychology: In the Psychology Department, the average salary

                for a full professor in that year was $142,600. Prof. Freyd's salary was 9% higher, and

                is higher than most other faculty members in the department (including most full

                professors, both male and female). Prof Freyd's assertion that her pay is not equitable

                relies on comparison with a subset ofthe department, a small and specific group ofjust

                four other faculty members. This group is too small to make statistical inferences from.

                The salaries of these four faculty members reflect retention raises made to encourage

                these faculty members to remain at the University in the face of external offers. If we

                examine the duties and responsibilities of these faculty members individually, as I do

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             below, we also see that they are different from Prof. Freyd's in ways that may help

             explain why they have had external offers that the University has chosen to respond to

             with retention raises. I believe their external offers are partly based on the different

             nature of the work these faculty members do, and because the University also values

             this work very highly as a result of the University's strategic choices, the University

             responded to these external offers with retention raises. I summarize below what is

             special about the work of these four individuals that both attracted outside offers, and

             in my view justified the strategic decision to make retention raises to keep them.
                o Ulrich Mayr: Prof. Mayr is the department head. This is a leadership role which

                    comes with a raft of responsibilities that are not shared by regular faculty in the
                    department and are not and have not been shared by Prof. Freyd, including

                    budgeting, adjustment of faculty grievances, staff supervision, overall

                    supervision ofjunior faculty, and management of the tenure and faculty review

                    process (see Exhibit C attached, which describes the responsibilities of the
                    department head). In addition, as department head, Prof. Mayr has supervisory

                    responsibilities over Prof. Freyd. Prof. Mayr has also brought in over $1

                    million in external funding to the University in the last five years, and is

                    regularly well-funded. This makes him an attractive external target; the

                    University has had to give him a retention raise in the past in order to keep him

                    (as well as the funding he brings in, which benefits the department and the

                    University) at University of Oregon. He has also had a raise in compensation

                    for the responsibilities of serving as department head. Before Prof. Mayr
                    accepted the position of department head, Prof. Freyd's compensation was

                    higher than his.

                o Phil Fisher: Prof. Fisher is the director of the Center for Translational
                    Neuroscience (CTN). He also has brought in an average of over $1.5 million

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                    per year in external funding in the last five years. Besides three core faculty,

                    the CTN currently has six affiliated faculty, four postdocs, 18 graduate students

                    and five staff. In addition to his duties as CTN director, the extensive grant

                    funded research that Prof. Fisher conducts has duties and responsibilities that

                    are very specific to the nature of the work that he does and include:

                        ■   Personnel employment and supervision of a number of employees.

                        ■   Compliance with federal research protocols, spending protocols and

                            accountability rules, maintenance of documentation including technical

                            and administrative reports. Preparation of justifications, appropriate

                            acknowledgement of federal support, and more. There are about 150

                            pages of NIH requirements, for example.
                        ■   Continual efforts preparing lengthy grant applications (which can be

                            over 100 pages long), competing for funding, spending funds at a rate

                            that both accomplishes the necessary research and keeps the most

                            valued research personnel employed, and bringing in grants that

                            contribute to the overhead costs of the University and which also allow

                            the University to provide internal funding to some faculty who do not

                            themselves bring in such funding.

                    Prof. Fisher is also the leading member of a group of three high-performing

                    faculty members (Fisher, Jennifer Pfeifer, Elliott Berkman) all of whom are

                    successful at bringing in considerable external grant funding, all of whom are

                    sought after by other universities, and all of whom do work that is strategically

                    important to the University. The University has made significant retention

                    offers to all three of these faculty members in the face of recruitment by other

                    universities. As Prof. Fisher is the senior member of this group, retaining Prof.

                    Fisher is also key to retaining Profs. Pfeifer and Berkman. A further factor that

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                   distinguishes Prof. Fisher from Prof. Freyd and other faculty is that he has has

                   succeeded in securing grant funding that pays for his own compensation. In the

                   2017-18 academic year, for example, 100% of Prof. Fisher's salary was

                   provided by his external grant funding. In the preceding two academic years,

                   80% of his salary was provided by his external grant funding. In 2014-15 his

                   external grant funding provided 49% or his salary. In 2013-14 his external grant

                   funding provided 35% of his salary, and for the two academic years before that,

                   his external grant funding provided 25% of his salary.

                o Nicholas Allen
                       ■   Prof. Allen is Director of the Center for Digital Mental Health (10

                           affiliated faculty from multiple institutions, seven Ph.D. students at

                           Oregon, three research personnel).

                       ■   Director ofClinical Training. Prof. Allen currently serves(as have Prof.

                           Hall and Prof. Fisher) as the Director of Clinical Training, a time-and-
                           responsibility intensive position that includes as well as the

                           responsibilities referenced below in connection with Prof Hall:

                              • Administer clinical training program.

                              • Maintain APA accreditation.

                              • Oversee graduate program and staff of clinical program.
                       ■   In addition to the duties above, Prof. Allen maintains an external

                           funding program at about $200,000 per year. This includes the same set

                           of duties listed above for Prof. Fisher. His overall grant funding is also
                           remarkable because he has not been with the University for the length

                           oftime that other faculty have been and he made the transition to Oregon

                           from Australia. He has been a target for recent external recruitment. I

                           believe this is in response to his level of grant funding and level of

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                           productivity. This has also made it important strategically for the

                           University to retain him. I do not believe this would have been possible

                           without an increase in compensation.

                 o Gordon Hall

                       ■   Although not true currently, during the period 2003-2014 (with the

                           exception of2007-2010)Prof. Hall served as the Department's Director

                           of Clinical Training. He undertook that responsibility twice, and each

                           time accepted the considerable responsibilities that went into managing

                           the accreditation process. The Director role is time consuming and

                           imposes qualitatively different responsibilities than by faculty who are

                           not in that role, and filling the Director role during the accreditation or

                           re-accreditation process adds a greater level of complexity and

                           accountability along with duties and obligations that occupy a great

                           amount of the Director's time.

                       ■   During 2008-2015, Prof. Hall held an administrative position or

                           positions with the Center on Diversity and Community(CoDaC) where

                           he was Associate Director of Research. This unit does not report to me

                           so I know little of its day-to-day operation; however, work for CoDaC

                           is by its nature different from the typical faculty duties of scholarship

                           and teaching.
                       ■   During 2015-17, Prof. Hall served as Director of CoDaC. As above, I

                           do not know what the day-to-day duties are, though I know some of

                           them since we shared efforts on some projects. This is again work that

                           is different from typical faculty duties.




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                           ■   In his CoDaC positions, Prof. Hall did not report in to the Department

                               of Psychology (nor, by extension, to me) but rather worked under the

                               direction of the Vice President for Equity and Inclusion.

                           ■   Prof. Hall has been externally recruited. I believe that to have resulted

                               from his record of generous external funding and strong productivity in

                               addition to his work as clinical director and possibly attention he has

                               attracted through his work on university diversity efforts.
                           ■   Prof. Hall's current high salary is the result of many factors. He was
                               recruited to the University of Oregon many years ago and like many

                               outside recruitments the University had to pay enough to attract him to

                               move to Oregon. He was the target of outside recruitments on at least

                               two occasions because of the work he did at Oregon, he held

                               administrative appointments with CoDaC doing work on which the

                               University placed very high value and which was different from the kind

                               of work he had done as a professor of Psychology.
                           ■   Dr. Hall recently rejoined the Psychology Department.               He has

                               announced his retirement which puts in place a 6% compensation

                               increase. This is so for all faculty.

             e. There are certain important common features of all four of these faculty members
                identified by Prof. Freyd in her lawsuit(Mayr, Fisher, Allen, Hall):

                   o They had significant external funding which dramatically changes the nature of

                       their day-to-day work. For the period of time I reviewed in considering Prof.

                       Freyd's compensation concerns, she had no external funding(my review at the

                       time went back through 2013). In Prof. Fisher's case, his external grant funding

                       paid a substantial part of his salary and currently funds all his salary.



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                   o They had significant administrative duties, some outside the department, which

                       also dramatically changed the nature of their day-to-day work. Prof. Freyd does

                       not have similar significant administrative duties.

                   o They attracted outside offers (I believe largely because of their significant

                       external funding combined with their scholarly record and demonstrated

                       administrative ability).

                   o The University made the strategic choice to offer them raises in order to retain

                       them and protect the value to the University of both their administrative

                       contributions and the external funding being brought into the University.

                While it is true that these four faculty members are paid more than the other full

                professors in Psychology (which I believe results from special circumstances

                applicable to their individual situations and contributions), I also believe that the

                remaining full professors in the Psychology Department(a mixture of men and women)

                are nevertheless still compensated well within the University in comparison to faculty

                generally, and they have received all the normal raises in the University promotion,

                post-tenure review, across-the-board and merit processes. There are additional factors

                that influence my conclusion, following my study, that Prof. Freyd was not improperly

                compensated. These factors all also influenced my conclusion that Prof. Freyd's

                compensation was not a result of gender discrimination.

             f. Instability over time and limited department data: In evaluating Prof. Freyd's

                complaint, I also considered how compensation varies in a university system from year

                to year, as well as whether there could even be meaningful information from so small

                a group.

                   o Had Prof. Freyd brought this complaint a year earlier (2015-16), the highest

                       salaries would have been that of a woman, Helen Neville, followed by Gordon

                       Hall, Phil Fisher and Jennifer Freyd. In fact, at that time(2015-16) many ofthe

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                    lowest paid full professors were men. I did not consider this to be evidence of

                    bias against men any more than the salary structure of 2016-17 is evidence of

                    bias against women. A short time earlier, 2012-2014 Kim Espy,a woman,held

                    an appointment in the Psychology Department but (like Gordon Hall) did day

                    to day work in an administrative role. She was paid substantially more than all

                    the other faculty in the department. If Gordon Hall, who held an appointment

                    in the Psychology Department but worked largely at CoDaC,is to be considered

                    in salary comparisons, so should Kim Espy who also held such an appointment

                    but did an administrative role. The number offaculty involved, however, is too

                    small to view as statistically representative of any trend; instead we are simply

                    seeing individual faculty being compensated differently for individual reasons,

                    not because of a class that they belong to.

                 o Had Prof. Freyd brought this complaint in 2012-2013, the top salaries in her
                    department would have been in descending order Kim Espy, Helen Neville,

                    Gordon Hall, Phil Fisher, Marjorie Taylor, Edward Awh, and Jennifer Freyd.

                    From that I saw no evidence that her gender was a negative factor in her
                    compensation.

                 o Were Prof. Freyd to bring forward this complaint in 2018-19, we would see, at
                    the junior end of the full professor spectrum, that Jennifer Pfeifer (a newly

                    promoted full professor with an excellent external funding record who was

                    strongly recruited externally and for whom the University made a raise to

                    retain) is at a salary $20,000-$40,000 more than (mostly male) faculty
                    equivalent in seniority or even senior to Prof. Pfeifer by as much as a decade.

                    This will not be evidence of bias against men, rather it is a consequence of the

                    strategic decision to retain Prof. Pfeifer(and the associated external funding).



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             g. Adjustment for retention raises: I used Prof. Freyd's own data but prepared my own

                  analysis in which I corrected for retention adjustments. When I did that evaluation, the

                  charts presented a very different picture and a plot of salary against years since

                  promotion to full professor shows data generally lined up along the regression line.

                  Stated in very general terms, that chart supported the hypothesis that pay correlates

                  strongly with seniority for full professors in Psychology except for those individuals

                  who the University retained through a retention adjustment. I do not believe that

                  evidences gender discrimination.

             h. A plot showing seniority and compensation, like what Prof. Freyd supplied, is too

                  simplistic to expect it to explain salary completely in several respects. Retention raises

                  .have a distorting effect, but are needed if the University is to retain faculty who bring

                  in substantial external funding and who are important for strategic reasons. Another

                  way such plots are too simplistic is that they do not take into account variation over

                  time of starting salary. Generally speaking, people hired later in time start at a higher

                  salary than people who are hired earlier. If the starting salaries increase during a time

                  when faculty salaries have been stagnant (as happens at the University when there is a

                  freeze on salary increases), then someone hired later would benefit from the inflation

                  of starting salaries needed to remain competitive enough to hire successfully, while

                  faculty who have been at the University for a longer period of time would have seen

                  their salaries rise more slowly because of our state government's lower investment in

                  higher education at this University. That is a factor that affects men and women across

                  the board and results from the stresses on the University budget in times of strained

                  state resources.

             i.   As I have alluded to above, and also important in my consideration is that at various

                  times Prof. Freyd has been paid more than people about whom she complains. For

                  example, she was paid more than Nick Allen for three of the five years that he has been

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                  at the University, for 2014-15, 2015-16, and 2016-17. His current base salary is

                  $160,000, meaning he is paid $4,763 more than Prof. Freyd. That is due to a retention

                  offer. I cannot see a gender pattern in paying a woman, Prof. Freyd, more than Prof.

                  Allen for all years except when he has been aggressively recruited by an outside

                  institution and the university concluded that his retention was important to its mission

                  and goals. In such case the University made a considered judgment of the importance

                  of retaining Prof. Allen. Prof. Allen is not the only person in a similar situation. Prof.

                  Freyd was paid more than Ulrich Mayr in 2012-13, 2014-15 and 2015-16. That kind

                  of back and forth, with Prof. Freyd being paid sometimes more and sometimes less than

                  the principal men about whom she complains,does not in my view support a suggestion

                  that her compensation is biased against her on the basis of gender.

             7)      Prof. Freyd's department head and colleagues have been strong advocates for her

  and I did not see any indication that her raises were handled improperly within her department due

  to any gender-based considerations within the department.

             8)      In one case a departmental request with respect to Prof. Freyd's salary was not acted

  on. Prof. Freyd had received an 8% increase in Fall of 2015 as part of the regular 6-year post-

  tenure review process described in the collective bargaining agreement, Articles 20 and 26 of the

  2013-2015 University of Oregon Collective Bargaining Agreement (Exhibit D), and in line with

  the Psychology Department Head recommendation. This is the highest normal increase available.

  Sometime during the next year, Prof. Mayr(the Psychology department head)came to me asking

  if it was possible to retroactively give a larger increase than the 8% that the department had

  recommended and that the University had given for Prof. Freyd's post-tenure review. My answer

  at the time was that since I am not the final decision-maker on this, I could not tell him if it was

  possible to do this retroactively. I also explained to Prof. Mayr that Prof. Freyd's salary was at a

  level that did not trigger the criteria we use to request "above scale increases in truly exceptional

  cases. Those criteria are that either the faculty member is paid significantly less than the average

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  full professor in their department with no good explanation, or that the faculty member is paid

  significantly less than the average full professor in the discipline within the AAU public

  universities with no good explanation. Neither of these factors applied. Prof. Freyd's salary is

 (and was at that time) above the average both for full professors in her department and for full

  professors in Psychology at AAU public universities. I did not then, and I do not now, believe that

  it was affected by any gender bias.

             9)    To summarize, I studied the information Prof. Freyd provided, but I found the

  analysis to be too simplistic and incomplete and I carried out a considerable analysis of

  compensation within the department and of Prof. Freyd specifically.                Faculty pay is based on

  many factors other than seniority, and Prof Freyd is well and fairly compensated by standards of

  her department, the college, the University, and even the profession. I did not then, and I do not

  now, believe that her compensation was adversely affected by gender bias. The pay inequalities

  in Psychology affect men and women and are a consequence of other factors (including retention

  raises) and not a consequence of gender. It happens that in the year Prof. Freyd filed (2017), Prof.

  Allen benefited from a retention raise (though the group not benefitting from such raises included

  both men and women). In other years, as I have shown, the salary situation looks different.

             10)   As I do not believe the differences are caused by gender, and this was not presented

  to me as a case of discrimination but rather as one of generalized equity, I think my response

 (pointing out that these differences are due to retention raises and related factors) was appropriate

  and within University policies and the law.

             11)   I understand that Prof. Freyd is also critical of my role in retention offers made to

  her colleagues Dare Baldwin and Nicholas Allen. As context, retention raises (quoting from

  University policy)"are for faculty who are being actively recruited by other institutions, or where

  there is compelling evidence that a preemptive action is necessary to prevent the loss of a valued

  faculty member." Individual requests for retention raises have to be evaluated according to the

  above sentence. The authority to make retention offers rests with the Provost. I am often the main

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  negotiator if the faculty member is in the Natural Sciences, and the Dean and I will certainly

  discuss the main points and our opinions with the Provost, but we do not have final decision

  making authority. During the time I have been in the Dean's office, the University has made

  retention offers for both men and women in the Psychology department when convinced this was

  necessary to retain the faculty member. There are levels to how compelling the evidence is that we

  are presented with:

             • Most compelling: a written offer from a strong program at a salary that is higher than
                 the faculty member's salary.

             • Moderately compelling: negotiations toward an offer or invitations for a second visit at
                 an institution that is recruiting one of our faculty members.

             • Modestly compelling: a job interview at another institution.

             • Evidence at different levels receives different responses. The salary offered by the
                 competing institution can also affect the response. Other factors include the reputation

                 of the competing institution, the amount of forgone income from grants and other
                 external funding that the University will lose if the faculty member leaves, the

                 replacement cost of the faculty member.

             12)     As indicated above,I was not the decisionmaker in these cases. However I did not

  consider the handling of these two very different situations to be in any way biased. Prof. Allen

  had major external funding for his work and we learned that he was the leading candidate for an

  important position at University of Birmingham (England). He is a core member of the clinical

  psychology faculty here, and his department head describes him correctly as "insanely

  productive." It was critical to retain him and we made an offer requiring him to withdraw from

  consideration at Birmingham. Dare Baldwin was also under consideration for a position in

  England, but was one ofseveral candidates under consideration at that time. The University made

  a more modest retention offer at that point(also requiring her to withdraw from consideration with

  the other institution, a requirement that is the norm in retention discussions). She declined to

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  withdraw from consideration with the other institution and so did not accept the Oregon offer. The

  other institution did not proceed with an offer to her. The considerations, and the generosity of

  the offers, were different for several reasons:

             • The University believed that Prof. Allen was a finalist, and he was the only person

                   then being considered, and close to receiving an offer, while Prof. Baldwin was one

                   of several being considered early in the process. That meant, in our view, that Prof.

                   Allen's potential departure was imminent. Prof. Baldwin's was not. In contrast,

                   earlier in her career Prof. Baldwin had been close to leaving the university and it is

                   my understanding that she received a very substantial retention offer and elected to

                   remain with the University.

             • Prof. Allen's role in the clinical program, his outstanding productivity, and his external

                   funding profile all increase his value to the University. This is not to diminish the

                   value of Prof. Baldwin's work, which is considerable, but it is on a different scale.

             13)     I understand that in Prof Freyd's lawsuit against me, she asserts that I exhibited

  gender bias against her because of an email exchange in 2015. This lawsuit is the first time she

  has made this opinion known to me. The exchange was in writing so it is available for review in

  its entirety and I maintain that does not exhibit any gender-related bias against her. I am, in fact,

  surprised that she would say so in her lawsuit. I summarize in the paragraphs below.

             14)     Prof John Bonine, in public comment to the University's Board of Trustees had

  asserted on June 411'that 20 students per week were victims of sexual assault at the University. I

  asked Prof. Bonine where this data came from, and he referred me to a survey done by Prof. Freyd

  and some of her students. I had an email exchange with Prof Bonine about whether the sample

  used for the survey might be biased and thus skew inferences about the entire population; my

  question reflected my interest in understanding the technical sampling. I did not speak to Prof.

  Freyd about this issue, so I believe that Prof. Bonine must have sent my email to her.



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             15)   On June 5th, I received what read to me as a friendly email from Prof. Freyd on this

  subject. This and related emails are attached as Exhibit E. In this email she stated (in agreement

  with my point)"You are absolutely right that generalizability is an important concern" and she

  told me that "thanks to thinking about your exchange with Joke she planned to do further work

  on the sampling issue. I did not read her message to me as being in any way insulted; rather, it

  appeared to me that she acknowledged that I had asked a question that was worthy offollow-up. I

  responded to her that same evening, furthering the discussion on the statistical question of atypical

  samples, but ended my email by commenting on what I had said to Prof. Bonine in the first place,

  pointing out that sexual violence on campus was a real problem and that we needed to take real

  steps to improve it, and that regardless of the possibility of sample bias, the survey indicates an

  alarming rate of sexual assault, while noting that steps taken to improve things depend to some

  extent on the details of the problem. My response email is also in Exhibit E.

             16)   I heard nothing back from Prof. Freyd on this subject for three years. Then, in

  March 2018, she sent me another cordial email. This one was directed to me and Dean Andrew

  Marcus thanking us for supporting her in a fellowship application, was signed "with appreciation"

  and had a postscript to me that said: "PS Hal, I keep forgetting to alert you to a new publication

  from my lab that directly assesses the role ofself-selection in campus victimization estimates based

  on climate surveys. (You may remember we discussed this a few years ago.) My team took

  advantage of how well the UO psychology department structures its own human subject pool in
  order to get a sample in which self-selection is greatly reduced and we were thus able to compare

  estimates of victimization rates." I understood her message to mean that she had considered my

  question about how sampling could affect the generalizability of survey results, and was pleased

  to tell me that she had in fact been able to provide evidence that her earlier sampling was likely to

  be representative. Again, as I had done three years earlier, I responded that same day, thanking
  her and indicating I was looking forward to reviewing the information about data collection and

  analysis. We had no further communications on the subject.

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  It was not until July, 2018 that I was made aware that Prof. Freyd is now stating in this lawsuit

 that these email exchanges with her — the entirety of which are supplied with this declaration as

  Exhibit E — is in her view an expression of bias and discrimination. I disagree. There is a further

  irony in that the March 2018 exchange is occasioned by Prof. Freyd's acknowledgement of Dean

  Marcus and me taking the extraordinary step of agreeing to her request for 50% pay during the

  academic year 2018-19 which she plans to spend entirely at Stanford's Center for Advanced Study

  in the Behavioral Sciences and therefore non-resident at the University. Agreeing to 50% pay

  during a year of non-residency is a highly unusual benefit which we agreed to provide to Prof.

  Freyd to promote her work.



             I declare under penalty of perjury that the foregoing is true and correct.


             Executed, on November /      2018.




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                                   CERTIFICATE OF SERVICE

                  I hereby certify that on the 16th day of November, 2018, I served the foregoing

   DECLARATION OF HAL SADOFSKY IN SUPPORT OF DEFENDANTS UNIVERSITY

   OF OREGON AND SADOFSKY'S MOTION FOR SUMMARY JUDGMENT on the

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                                                      s/Paula A. Barran

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